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 6   [Submitting Counsel on Signature Page]

 7

 8                                 UNITED STATES DISTRICT COURT
 9                              NORTHERN DISTRICT OF CALIFORNIA
10                                      SAN FRANCISCO DIVISION
11

12   IN RE JUUL LABS, INC.,                             Case No. 19-md-02913-WHO
     MARKETING, SALES PRACTICES,
13   AND PRODUCTS LIABILITY                             TRIAL TESTIMONY AND EXHIBITS
     LITIGATION                                         FROM THE VIDEOTAPED TESTIMONY
14                                                      OF BRUCE HARTER, JLI CONSULTANT,
                                                        PLAYED AT TRIAL
15
     This Document Relates to:
16
   San Francisco Unified School District v.
17 Juul Labs, Inc. et al., Case No. 3:19-cv-
   08177
18

19
             Plaintiff, by and through its undersigned attorneys, hereby dockets the following:
20
                  1. Exhibit 1 is a report of the videotaped testimony of Bruce Harter, JLI Consultant,
21
                       that was played to the jury on May 3, 2023. The testimony in blue 00:27:57 and
22
                       light blue 00:00:00 Plaintiff’s affirmative and counter-counter designations.
23
                  2. Exhibit 2: is a Joint Stipulation Identifying Trial Exhibits Used In Videotaped
24
                       Depositions of Bruce Harter Played at Trial that sets forth all of the Trial Exhibits
25
                       from the videotaped testimony of Bruce Harter admitted into evidence by the Court.
26

27

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      Case No. 3:19-cv-08177                                   TRIAL TESTIMONY AND EXHIBITS FROM THE
                                                                            VIDEOTAPED TESTIMONY OF
                                                                       BRUCE HARTER PLAYED AT TRIAL
     Case 3:19-md-02913-WHO Document 3999 Filed 05/03/23 Page 2 of 27



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                    EXHIBIT 1
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HARTER, BRUCE - SFUSD
FINAL_PLAYED 05-03-23
Designation List Report




            Harter, Bruce                           2021-02-18
            Harter, Bruce                           2021-02-19



            PLF AFFIRMATIVE                            00:27:57
            DEF COUNTER                                00:00:10
            TOTAL RUN TIME                            00:28:07



            Documents linked to video:
            HARTER336
            HARTER354
            HARTER355
            HARTER356
            HARTER358
            HARTER364
            HARTER373




                                                                        ID: HB_v12
            Case 3:19-md-02913-WHO Document 3999 Filed 05/03/23 Page 5 of 27
                         HB_v12 - HARTER, BRUCE - SFUSD FINAL_PLAYED 05-03-23
DESIGNATION      SOURCE                                                      DURATION       ID

 14:14 - 14:14   Harter, Bruce 2021-02-18_WIT                                 00:00:01   HB_v12.1
                 14:14   Q. Good morning, sir.
 14:15 - 14:18   Harter, Bruce 2021-02-18_WIT                                 00:00:07   HB_v12.2
                 14:15    A. Good morning.
                 14:16   Q. Would you state your full name
                 14:17       for the record, please.
                 14:18    A. Bruce Harter.
 15:03 - 15:05   Harter, Bruce 2021-02-18_WIT                                 00:00:07   HB_v12.3
                 15:03   Q. You formerly did certain work
                 15:04       for JUUL Labs, Inc., correct?
                 15:05    A. Yes.
 26:09 - 26:12   Harter, Bruce 2021-02-18_WIT                                 00:00:06   HB_v12.4
                 26:09   Q. You previously
                 26:10       worked as a school superintendent in
                 26:11       California, correct?
                 26:12    A. That is correct.
 26:22 - 27:01   Harter, Bruce 2021-02-18_WIT                                 00:00:15   HB_v12.5
                 26:22       Before you began doing work for
                 26:23       JUUL, what was the last job you had held as a
                 26:24       school superintendent?
                 26:25    A. I was employed by West
                 27:01       Contra Costa Unified School District.
 31:07 - 31:16   Harter, Bruce 2021-02-18_WIT                                 00:00:33   HB_v12.6
                 31:07   Q. All right. So you le West
                 31:08       Contra Costa Unified School District in June
                 31:09       of 2016. When did you initially start doing
                 31:10       work for JUUL?
                 31:11    A. I initially started working for
                 31:12       JUUL in December of 2017.
                 31:13   Q. So roughly a year and a half
                 31:14       a er your last job as a school
                 31:15       superintendent, correct?
                 31:16    A. Yes.
 78:05 - 78:11   Harter, Bruce 2021-02-18_WIT                                 00:00:24   HB_v12.7
                 78:05   Q. Before you signed
                 78:06       up to serve as a consultant for JUUL, had you
                 78:07       ever yourself, Bruce Harter, developed any
                 78:08       sort of youth prevention curricula around

                                          PLF AFFIRMATIVE      DEF COUNTER                          2 / 20
            Case 3:19-md-02913-WHO Document 3999 Filed 05/03/23 Page 6 of 27
                           HB_v12 - HARTER, BRUCE - SFUSD FINAL_PLAYED 05-03-23
DESIGNATION       SOURCE                                                       DURATION       ID
                  78:09        tobacco or e-cigarettes or drugs?
                  78:10     A. I had not. I did have a degree
                  78:11        in curriculum development, however.
117:05 - 117:11   Harter, Bruce 2021-02-18_WIT                                  00:00:20   HB_v12.8
                  117:05       In the time you worked with JUUL, did
                  117:06       you hear from many school administrators in
                  117:07       many school districts from around the country
                  117:08       that they were all having significant
                  117:09       problems with students using electronic
                  117:10       cigarettes, including JUUL, on their
                  117:11       campuses?
117:15 - 118:02   Harter, Bruce 2021-02-18_WIT                                  00:00:30   HB_v12.9
                  117:15 A. Yes, I did.
                  117:16       BY MR. KIEFFER:
                  117:17 Q. All right. This was in no way
                  117:18       a problem that was just confined to the
                  117:19       San Francisco Bay area?
                  117:20 A. No, it was not.
                  117:21 Q. Did you hear the problem
                  117:22       described as a youth vaping epidemic?
                  117:23 A. I had heard that terminology.
                  117:24 Q. And in the time that you worked
                  117:25       with JUUL, did you yourself come to the
                  118:01       conclusion that, indeed, there was a youth
                  118:02       vaping epidemic in the United States?
118:04 - 118:09   Harter, Bruce 2021-02-18_WIT                                  00:00:14   HB_v12.10
                  118:04 A. Well, I'm not exactly sure
                  118:05       what's meant by an epidemic. What I came to
                  118:06       understand is that it was a significant
                  118:07       problem for middle school and high school
                  118:08       administrators in many, many school districts
                  118:09       throughout the country.
122:15 - 122:24   Harter, Bruce 2021-02-18_WIT                                  00:00:31   HB_v12.11
                  122:15 Q. Sir, when you began your work
                  122:16       on behalf of JUUL, one of the early things
                  122:17       you did was you conducted some focus groups
                  122:18       with high school students, right?
                  122:19 A. I did one early on; I did one
                  122:20       much later.

                                             PLF AFFIRMATIVE    DEF COUNTER                           3 / 20
            Case 3:19-md-02913-WHO Document 3999 Filed 05/03/23 Page 7 of 27
                           HB_v12 - HARTER, BRUCE - SFUSD FINAL_PLAYED 05-03-23
DESIGNATION       SOURCE                                                       DURATION       ID
                  122:21 Q. Okay. You did one at San
                  122:22       Andreas High, and then you did another one at
                  122:23       a Millennial High School; is that right?
                  122:24 A. That's correct.
129:23 - 130:08   Harter, Bruce 2021-02-18_WIT                                  00:00:29   HB_v12.12
                  129:23 Q. Prior to doing this
                  129:24       focus group at Millennial High School, had
                  129:25       you had any training in conducting a focus
                  130:01       group on the topic of youth tobacco or
                  130:02       nicotine use prevention?
                  130:03 A. I had none.
                  130:04 Q. Had you ever done a focus group
                  130:05       before, yourself, as the moderator, on the
                  130:06       topic of youth tobacco or nicotine use
                  130:07       prevention?
                  130:08 A. I had not.
280:13 - 280:15   Harter, Bruce 2021-02-18_WIT                                  00:00:08   HB_v12.13
                  280:13       The work you did for JUUL, you were
                  280:14       ultimately paid for all of that, right?
                  280:15 A. Yes.
283:16 - 283:23   Harter, Bruce 2021-02-18_WIT                                  00:00:22   HB_v12.14
                  283:16 Q. Okay. In the course of the
                  283:17       work you were doing for JUUL, you did
                  283:18       communicate with dozens of individuals in the
                  283:19       school community, whether they were
                  283:20       principals or superintendents or other
                  283:21       administrative staﬀ, right?
                  283:22 A. Administrative or even
                  283:23       counselors or teaching staﬀ, yes.
307:07 - 307:17   Harter, Bruce 2021-02-18_WIT                                  00:00:35   HB_v12.15
                  307:07 Q. And had you come to understand
                  307:08       that JUUL use in the schools was a very
                  307:09       diﬀicult issue for school staﬀ to deal
                  307:10       with?
                  307:11 A. I learned that it was -- it was
                  307:12       problematic to -- for the schools to have to
                  307:13       address.
                  307:14 Q. It was really diﬀicult to
                  307:15       detect for one thing, right?

                                           PLF AFFIRMATIVE     DEF COUNTER                         4 / 20
            Case 3:19-md-02913-WHO Document 3999 Filed 05/03/23 Page 8 of 27
                           HB_v12 - HARTER, BRUCE - SFUSD FINAL_PLAYED 05-03-23
DESIGNATION       SOURCE                                                       DURATION       ID
                  307:16 A. School staﬀ had diﬀiculty,
                  307:17       yes, detecting it and following up on it.
314:12 - 314:20   Harter, Bruce 2021-02-18_WIT                                  00:00:27   HB_v12.16
  HARTER336.1.    314:12       Sir, Exhibit 336 is an e-mail
      1
                  314:13       from you to Rinda Bartley. The subject is
                  314:14       Checking in - Castro Valley, Saturday,
                  314:15       January 20th, 2018. And you begin it by
                  314:16       saying: Rinda, thanks much. I think that
                  314:17       CVHS is a terrific place for the pilot.
                  314:18       That's what appears there at
                  314:19       the top of the page, right?
                  314:20 A. That's correct.
315:05 - 316:09   Harter, Bruce 2021-02-18_WIT                                  00:01:17   HB_v12.17
                  315:05 Q. If you go to
  HARTER336.1.    315:06       the third paragraph on the first page of your
      2
                  315:07       e-mail there at the top of the page, it says:
                  315:08       I was over at JUUL yesterday and I've been
                  315:09       okayed to talk about a technological
                  315:10       intervention that will take away any doubts
                  315:11       that we have about JUUL's intention. By the
                  315:12       end of next month, they will be piloting a
                  315:13       device that will not only disable JUUL
                  315:14       products in schools, but also notify the
                  315:15       administrators where and when they are being
                  315:16       used.
                  315:17       They anticipate that the new
                  315:18       devices will be ready to use during next
                  315:19       school year. I've never heard of a company
                  315:20       that would disable its own products to keep
                  315:21       them away from underage users. While this
                  315:22       might drive students to using other products,
                  315:23       it will also put enormous pressure on other
                  315:24       companies to do what JUUL is doing. These
                  315:25       new devices will only be available to the
                  316:01       schools in the educational pilot.
                  316:02       Do you see what I just read?
                  316:03 A. I do.
                  316:04 Q. And you are, again there,

                                           PLF AFFIRMATIVE     DEF COUNTER                         5 / 20
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                           HB_v12 - HARTER, BRUCE - SFUSD FINAL_PLAYED 05-03-23
DESIGNATION       SOURCE                                                       DURATION       ID
                  316:05       describing this Beacon technological
                  316:06       initiative that the JUUL folks had told you
                  316:07       about and that you have described previously
                  316:08       in the deposition today, right?
                  316:09 A. Yes.
316:19 - 316:25   Harter, Bruce 2021-02-18_WIT                                  00:00:29   HB_v12.18
                  316:19 Q. Okay. The folks at JUUL knew
                  316:20       that you were in the process of making many,
                  316:21       many contacts with individuals in the school
                  316:22       community in connection with this pilot
                  316:23       program, and they gave you permission to tell
                  316:24       these contacts about this Beacon initiative
                  316:25       that seemed to be forthcoming, right?
317:02 - 317:03   Harter, Bruce 2021-02-18_WIT                                  00:00:03   HB_v12.19
                  317:02 A. To the best of my recollection,
                  317:03       yes.
317:23 - 318:11   Harter, Bruce 2021-02-18_WIT                                  00:00:41   HB_v12.20
  HARTER336.1.    317:23 Q. All right. You say here:
      3
                  317:24       These new devices will only be available to
                  317:25       the schools in the educational pilot.
                  318:01       Why was that?
                  318:02 A. That wasn't a decision that
                  318:03       JUUL made. That was something that I was
                  318:04       saying in order to increase the likelihood
                  318:05       that the school might sign up with us.
                  318:06 Q. Okay. All right. So in your
                  318:07       mind, this Beacon device was an incentive to
                  318:08       schools to potentially sign on with this
                  318:09       pilot program?
                  318:10 A. It is the single thing that
                  318:11       schools are most interested in.
318:24 - 319:04   Harter, Bruce 2021-02-18_WIT                                  00:00:20   HB_v12.21
      Clear       318:24       This Beacon technological
                  318:25       initiative that JUUL had told you they were
                  319:01       planning and that you had communicated about
                  319:02       to various school contacts, it was the single
                  319:03       most important thing to those school contacts
                  319:04       as far as you could tell?

                                           PLF AFFIRMATIVE   DEF COUNTER                           6 / 20
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DESIGNATION       SOURCE                                                       DURATION       ID
319:07 - 320:19   Harter, Bruce 2021-02-18_WIT                                  00:01:48   HB_v12.22
                  319:07 A. So let me just clarify. You
                  319:08       know, schools are most interested in sort of
                  319:09       solving the immediate problem, and what the
                  319:10       Beacon did for us was open the door for us to
                  319:11       partner with schools to really go a er the
                  319:12       underlying causes and potential solutions.
                  319:13       Because this simply -- turning
                  319:14       oﬀ JUULs in school wasn't going to address
                  319:15       the vaping problem among teenagers. We had
                  319:16       to have something more robust, and that's
                  319:17       what we felt like we were oﬀering in our
                  319:18       pilot was at least a way to open the door to
                  319:19       a more robust approach, a more holistic
                  319:20       approach that would be ultimately more
                  319:21       eﬀective than simply turning oﬀ the
                  319:22       devices.
                  319:23       BY MR. KIEFFER:
                  319:24 Q. Okay. Fair enough.
                  319:25       And just to follow up on that,
                  320:01       and we may get into more detail on it later,
                  320:02       you -- was it your belief that to solve the
                  320:03       vaping problem in the public schools would
                  320:04       require a robust, comprehensive and sort of
                  320:05       multifaceted approach?
                  320:06 A. That's what we believed, yes.
                  320:07 Q. Okay. This Beacon technology
                  320:08       was one important component of that approach,
                  320:09       but by no means in your mind would it
                  320:10       completely address and eliminate the problem,
                  320:11       fair?
                  320:12 A. That's correct.
                  320:13 Q. Okay. But as you said, you
                  320:14       found that it was a door-opener, it was an
                  320:15       attention-getter, and it caused these school
                  320:16       administrators to give you an audience and
                  320:17       hear what you had to say, right?
                  320:18 A. That's probably a good way to
                  320:19       say it, yes.
447:23 - 448:10   Harter, Bruce 2021-02-19_WIT                                  00:00:39   HB_v12.23

                                              PLF AFFIRMATIVE   DEF COUNTER                        7 / 20
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                           HB_v12 - HARTER, BRUCE - SFUSD FINAL_PLAYED 05-03-23
DESIGNATION       SOURCE                                                       DURATION       ID
                  447:23 Q. All right. Sir, your e-mail,                                   HB_v12.23
                  447:24       which we have marked as Exhibit 354, begins
  HARTER354.2.    447:25       here on Sunday, May 20th, 2018, and you write
      1
                  448:01       to Julie, Roxy and Ryan, and you state: On
                  448:02       Thursday, Wendell and I met with a team from
                  448:03       Cape Elizabeth High School in Maine, who
                  448:04       asked us several questions on which we'll
                  448:05       need technical assistance in answering. Let
                  448:06       me know if there are others at JUUL that I
                  448:07       should contact to get information to respond
                  448:08       to the questions below.
                  448:09       Do you see that?
                  448:10 A. I do.
448:17 - 448:25   Harter, Bruce 2021-02-19_WIT                                  00:00:22   HB_v12.24
                  448:17 Q. Doctor, underneath your opening
  HARTER354.2.    448:18       paragraph in this e-mail, you have seven
      2
                  448:19       separately numbered items, right?
                  448:20 A. That's correct.
                  448:21 Q. And I don't intend to go
                  448:22       through all of them, but in general, some of
                  448:23       them raise questions or seek further
                  448:24       information about this beacon device, right?
                  448:25 A. That's correct.
450:09 - 451:16   Harter, Bruce 2021-02-19_WIT                                  00:01:46   HB_v12.25
  HARTER354.1.    450:09 Q. All right. And then if you go
      1
                  450:10       to the first page of the e-mail, about a
                  450:11       third of the way down the page, there's an
  HARTER354.1.    450:12       e-mail from Julie Henderson, also of
      2
                  450:13       May 30th, 2018, at 10:36 p.m. And it is to
                  450:14       you and to Wendell Greer.
  HARTER354.1.    450:15       And she says: Hi team. Spoke
      3
                  450:16       briefly with Kirk Phelps, VP engineer, today
                  450:17       on this issue, and he reiterated how senior
                  450:18       management opted to take the beacon idea oﬀ
                  450:19       the table indefinitely.

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DESIGNATION       SOURCE                                                       DURATION       ID
                  450:20       He was also very adamant about
                  450:21       us not talking about this item, slash, option
                  450:22       in any of our future presentations and,
                  450:23       slash, or meetings, paren, and admonished me
                  450:24       for discussing it in the past couple of
                  450:25       meetings because of senior management's
                  451:01       decision, which is based on the reasoning
                  451:02       that, one, kids could, slash, would, slash,
                  451:03       might find a way to beat the beacon, and two,
                  451:04       that there isn't a vape detector out there
                  451:05       that really works.
                  451:06       Do you see what I just read?
                  451:07 A. I do.
                  451:08 Q. Doctor, what was your reaction
                  451:09       when you first received this news from
                  451:10       Ms. Henderson about the beacon program
                  451:11       apparently being taken oﬀ the table
                  451:12       indefinitely at the direction of senior
                  451:13       management?
                  451:14 A. I don't remember what my
                  451:15       reaction was, but I did share a response to
                  451:16       Julie in the e-mail above.
451:17 - 452:16   Harter, Bruce 2021-02-19_WIT                                  00:01:19   HB_v12.26
                  451:17 Q. Okay. All right. Well, then
  HARTER354.1.    451:18       let's read that. Your response to
      4
                  451:19       Ms. Henderson on June 2 of 2018 is as
                  451:20       follows: Julie, apologies for my delay in
                  451:21       responding. The beacon is the door-opener
                  451:22       for conversations with school staﬀ. Without
                  451:23       it, they're simply not interested. Once we
                  451:24       get in the door, we help them see that the
                  451:25       beacon isn't the cure, rather a crutch to use
                  452:01       while the school implements the education and
                  452:02       intervention programs that are eﬀective.
                  452:03       But without the promise of the beacon, we
                  452:04       won't get a listen.
                  452:05       Even if the beacon is easily
                  452:06       subverted, I believe it has great value to
                  452:07       JUUL in demonstrating JUUL's commitment to

                                           PLF AFFIRMATIVE    DEF COUNTER                          9 / 20
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                            HB_v12 - HARTER, BRUCE - SFUSD FINAL_PLAYED 05-03-23
DESIGNATION        SOURCE                                                       DURATION       ID
                   452:08       youth prevention. It is the single
                   452:09       initiative that distinguishes JUUL from big
                   452:10       tobacco. Bruce.
                   452:11       Did I read that correctly, sir?
                   452:12 A. Yes, you did.
                   452:13 Q. Okay. Did you mean those words
                   452:14       when you wrote them on June 2nd, 2018?
                   452:15 A. I don't usually write things
                   452:16       that I don't mean.
463:25 - 464:06    Harter, Bruce 2021-02-19_WIT                                  00:00:05   HB_v12.27
      Clear        463:25       MR. KIEFFER: Mike, can you
  HARTER355.1.     464:01       pull up document 40.
      2
                   464:02       (Whereupon, Deposition Exhibit
                   464:03       Harter-355, E-mail(s) re:
                   464:04       Demonstration Site & Other Thoughts,
                   464:05       JLI00161115 - JLI00161117, was marked
                   464:06       for identification.)
469:20 - 470:05    Harter, Bruce 2021-02-19_WIT                                  00:00:32   HB_v12.28
  HARTER355.1.     469:20 Q. Your e-mail to Ms. Gould of
      1
                   469:21       June 13, 2018, in the first paragraph, it
                   469:22       indicates that you had recently met together
                   469:23       at JUUL?
                   469:24 A. Yes.
                   469:25 Q. And you reference there a
                   470:01       proposal for establishing demonstration sites
                   470:02       for intervention and enforcement at schools
                   470:03       throughout the country, and you're attaching
                   470:04       a dra , right?
                   470:05 A. That's correct.
470:14 - 470:23    Harter, Bruce 2021-02-19_WIT                                  00:00:28   HB_v12.29
                   470:14 Q. This proposal for establishing
                   470:15       demonstration sites for intervention and
                   470:16       enforcement at schools throughout the
                   470:17       country, why is it you dra ed that and put
                   470:18       it together?
                   470:19 A. It was sort of a synthesis of
                   470:20       conversations that Dr. Henderson, Dr. Greer
                   470:21       and I had had about what might be the next
                                               PLF AFFIRMATIVE    DEF COUNTER                       10 / 20
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                           HB_v12 - HARTER, BRUCE - SFUSD FINAL_PLAYED 05-03-23
DESIGNATION       SOURCE                                                      DURATION       ID
                  470:22       steps and how we might go about addressing
                  470:23       the issues of underage vaping.
472:07 - 472:08   Harter, Bruce 2021-02-19_WIT                                 00:00:03   HB_v12.30
  HARTER355.1.    472:07 Q. All right. Now, in the third
      3
                  472:08       paragraph down
472:15 - 472:18   Harter, Bruce 2021-02-19_WIT                                 00:00:06   HB_v12.31
                  472:15       You tell Ms. Gould that you
                  472:16       hope that JUUL would resurrect the beacon,
                  472:17       right?
                  472:18 A. That's correct.
474:24 - 475:03   Harter, Bruce 2021-02-19_WIT                                 00:00:13   HB_v12.32
                  474:24       did you disagree with JUUL's
                  474:25       decision to indefinitely table this beacon
                  475:01       project?
                  475:02 A. Yes, I think we established
                  475:03       that with the last e-mail on June 2nd.
475:09 - 475:10   Harter, Bruce 2021-02-19_WIT                                 00:00:04   HB_v12.33
  HARTER355.2.    475:09 Q. Let's turn, if we
      1
                  475:10       can, to your demonstration site concept.
475:24 - 476:01   Harter, Bruce 2021-02-19_WIT                                 00:00:03   HB_v12.34
                  475:24 Q. Do you have that in front of
                  475:25       you, Dr. Harter?
                  476:01 A. I do.
476:15 - 477:12   Harter, Bruce 2021-02-19_WIT                                 00:01:16   HB_v12.35
                  476:15       As it relates to the
                  476:16       demonstration site concept of Exhibit 355,
                  476:17       big picture, was this basically kind of a
                  476:18       holistic strategy to try to reduce and
                  476:19       eliminate the youth vaping problem in
                  476:20       schools?
                  476:21 A. A couple of things I want to
                  476:22       say about this. One is that it is -- it is
                  476:23       an attempt to move from -- attempting to
                  476:24       address every school and school district,
                  476:25       private school and charter school throughout
                  477:01       the country, to refocusing resources and
                  477:02       strategies on a limited number of schools in
                                            PLF AFFIRMATIVE     DEF COUNTER                       11 / 20
           Case 3:19-md-02913-WHO Document 3999 Filed 05/03/23 Page 15 of 27
                           HB_v12 - HARTER, BRUCE - SFUSD FINAL_PLAYED 05-03-23
DESIGNATION       SOURCE                                                       DURATION       ID
                  477:03       order to have schools where we can point to
                  477:04       and say this is what we know and what works.
                  477:05 Q. Okay.
                  477:06 A. And the second thing I want to
                  477:07       say about it is, is that if you'll notice
                  477:08       here, this is a document that was dra ed on
                  477:09       May 9th, and that was before the June 2nd
                  477:10       e-mail in which Julie told Wendell and I that
                  477:11       senior management had moved away from the
                  477:12       beacon.
477:23 - 477:24   Harter, Bruce 2021-02-19_WIT                                  00:00:06   HB_v12.36
                  477:23 Q. In the first paragraph,
  HARTER355.2.    477:24       about midway through it, you state: A
      2
477:25 - 478:22   Harter, Bruce 2021-02-19_WIT                                  00:01:14   HB_v12.37
                  477:25       comprehensive approach including prevention,
                  478:01       intervention and enforcement activities would
                  478:02       create pathways for the schools to solve a
                  478:03       diﬀicult problem while providing JUUL with
                  478:04       model schools that show what it takes to
                  478:05       suﬀiciently stop vaping as well as have an
                  478:06       impact on the use of other substances not
                  478:07       legal for minors, such as marijuana, alcohol
                  478:08       and opioids.
                  478:09       My question is: Was it your
                  478:10       opinion and belief when you wrote this that,
                  478:11       indeed, to solve the diﬀicult problem of
                  478:12       vaping specifically, it would likely take a
                  478:13       comprehensive approach that would involve
                  478:14       several things, including prevention,
                  478:15       intervention and enforcement?
                  478:16 A. I think if you go back to our
                  478:17       very first meeting with JUUL, that is exactly
                  478:18       what Dr. Greer and I were suggesting, that a
                  478:19       comprehensive approach that included
                  478:20       prevention, intervention and enforcement was
                  478:21       essential to really addressing the problem in
                  478:22       any realistic kind of way.
479:03 - 479:14   Harter, Bruce 2021-02-19_WIT                                  00:00:34   HB_v12.38
                  479:03 Q. And by that time,
                                            PLF AFFIRMATIVE     DEF COUNTER                        12 / 20
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                            HB_v12 - HARTER, BRUCE - SFUSD FINAL_PLAYED 05-03-23
DESIGNATION        SOURCE                                                       DURATION       ID
                   479:04       when you put it together in the demonstration
                   479:05       site proposal, you had had the benefit of
                   479:06       having spent a lot of time and eﬀort and
                   479:07       energy over the past few months kind of
                   479:08       learning some of the details of the problem
                   479:09       and fine-tuning some of your proposed
                   479:10       solution strategies, fair?
                   479:11 A. We had talked with a number of
                   479:12       administrators and substance abuse counselors
                   479:13       and others about what the problem was, and we
                   479:14       had learned a great deal about it.
502:21 - 502:25    Harter, Bruce 2021-02-19_WIT                                  00:00:18   HB_v12.39
      Clear        502:21 Q. All right. Dr. Harter,
  HARTER356.1.     502:22       Exhibit 356 is an e-mail string that you were
      1
                   502:23       a part of, along with Julie Henderson and
                   502:24       Wendell Greer, in April of 2018, it looks
                   502:25       like April 16th specifically.
503:11 - 504:08    Harter, Bruce 2021-02-19_WIT                                  00:01:10   HB_v12.40
                   503:11 Q. Let me turn your
  HARTER356.2.     503:12       attention to page 2, and look at
      1
  HARTER356.2.     503:13       Ms. Henderson's e-mail. She states: Good
      2
                   503:14       morning, just wanted to share for later
                   503:15       discussion. A er so many comments comparing
                   503:16       us to big tobacco, I opted to research their,
                   503:17       quote, youth prevention programs, end quote,
                   503:18       through a review of public documents
                   503:19       available on UCSF's online collection from
                   503:20       the big tobacco litigation of the 2000s.
  HARTER356.2.     503:21       The chart below summarizes my
      3
                   503:22       findings a er reading only 80 of the 496
                   503:23       available documents. Let's discuss the
                   503:24       implications and next steps. I'm hoping to
                   503:25       meet with Ashley and Kevin to discuss the
                   504:01       existing programming and plans, column 2, and
                   504:02       how our eﬀorts will lead to reduced youth
                   504:03       access and use.

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DESIGNATION        SOURCE                                                       DURATION       ID
                   504:04       Having just read that e-mail,
                   504:05       Dr. Harter, do you recall having an exchange
                   504:06       with Ms. Henderson on this topic?
                   504:07 A. I don't recall the exchange in
                   504:08       particular, but it is here in front of me.
504:09 - 504:15    Harter, Bruce 2021-02-19_WIT                                  00:00:21   HB_v12.41
  HARTER356.2.     504:09 Q. Okay. Before I showed it to
      4
                   504:10       you, did you have any memory of having
                   504:11       communications with Ms. Henderson or others
                   504:12       about the extent to which JUUL's youth
                   504:13       prevention activities might or might, in the
                   504:14       eyes of some, resemble the tactics of big
                   504:15       tobacco from prior years?
505:10 - 505:21    Harter, Bruce 2021-02-19_WIT                                  00:00:32   HB_v12.42
                   505:10 A. I do recall having
                   505:11       conversations with Dr. Henderson about the
                   505:12       comparison of -- at least about programs that
                   505:13       were forwarded by big tobacco. I don't
                   505:14       remember specifically what any of those were.
                   505:15       BY MR. KIEFFER:
                   505:16 Q. And do you recall what she told
                   505:17       you about why she was analyzing that topic?
                   505:18 A. Well, what she says here in the
                   505:19       e-mail was that she did that because there
                   505:20       were so many comments comparing what we were
                   505:21       doing to big tobacco.
517:10 - 517:15    Harter, Bruce 2021-02-19_WIT                                  00:00:04   HB_v12.43
      Clear        517:10       MR. KIEFFER: Mike, can you
  HARTER358.1.     517:11       pull up document 29.
      1
                   517:12       (Whereupon, Deposition Exhibit
                   517:13       Harter-358, E-mail(s) re: Chicago -
                   517:14       Hinsdale, JLI00022479, was marked for
                   517:15       identification.)
517:16 - 517:16    Harter, Bruce 2021-02-19_WIT                                  00:00:02   HB_v12.44
                   517:16       THE WITNESS: I have it now.
517:25 - 519:01    Harter, Bruce 2021-02-19_WIT                                  00:01:13   HB_v12.45
  HARTER358.1.     517:25 Q. All right. This is an e-mail
                                            PLF AFFIRMATIVE     DEF COUNTER                         14 / 20
           Case 3:19-md-02913-WHO Document 3999 Filed 05/03/23 Page 18 of 27
                           HB_v12 - HARTER, BRUCE - SFUSD FINAL_PLAYED 05-03-23
DESIGNATION       SOURCE                                                       DURATION       ID
      2           517:25 Q. All right. This is an e-mail                                   HB_v12.45
                  518:01       string that you were a part of with
                  518:02       Ms. Henderson and Wendell Greer on April 16th
                  518:03       and 17th, 2018, and the subject of it is
                  518:04       Chicago Hinsdale.
                  518:05       And it begins with
                  518:06       Ms. Henderson's e-mail at the bottom of the
  HARTER358.1.    518:07       page, and she says: Hi, guys. Just spoke
      3
                  518:08       with Ashley, and she shares my concerns about
                  518:09       the optics of us attending a student health
                  518:10       fair, given our new understanding of how much
                  518:11       our eﬀorts seem to duplicate those of big
                  518:12       tobacco.
                  518:13       And in the parenthetical she
                  518:14       says: Philip Morris attended fairs and
                  518:15       carnivals where they distributed various
                  518:16       branded items under the guise of, quote,
                  518:17       youth prevention. And then she goes on to
                  518:18       ask: How strongly do you feel we need to be
                  518:19       there?
                  518:20       You understood when you
                  518:21       received this e-mail from Ms. Henderson that
                  518:22       she apparently reached the conclusion that
                  518:23       indeed there did appear to be some
                  518:24       similarities between JUUL's youth prevention
                  518:25       eﬀorts and those that big tobacco had
                  519:01       engaged in?
519:03 - 519:05   Harter, Bruce 2021-02-19_WIT                                  00:00:08   HB_v12.46
                  519:03 A. Well, I was aware that there
                  519:04       were some perceived -- that some people
                  519:05       perceived some overlap.
521:01 - 521:08   Harter, Bruce 2021-02-19_WIT                                  00:00:27   HB_v12.47
  HARTER358.1.    521:01       In the second paragraph of your
      4
                  521:02       response to Ms. Henderson here in
                  521:03       Exhibit 358, the third sentence, you state:
  HARTER358.1.    521:04       The unintended consequence is that teenagers
      5
                  521:05       find JUULs irresistible.

                                           PLF AFFIRMATIVE    DEF COUNTER                          15 / 20
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DESIGNATION        SOURCE                                                       DURATION       ID
                   521:06       You had reached that conclusion
                   521:07       based on, what, focus groups you conducted in
                   521:08       part?
521:11 - 521:13    Harter, Bruce 2021-02-19_WIT                                  00:00:05   HB_v12.48
                   521:11 A. Do you want to just answer the
                   521:12       rest for me? I'd be happy with you doing
                   521:13       that. You heard it all.
542:13 - 542:19    Harter, Bruce 2021-02-19_WIT                                  00:00:04   HB_v12.49
      Clear        542:13       MR. KIEFFER: Mike, can you
  HARTER364.1.     542:14       pull up document 131, please.
      1
                   542:15       (Whereupon, Deposition Exhibit
                   542:16       Harter-364, E-mail(s) re: Materials
                   542:17       for tomorrow's discussion,
                   542:18       JLI-HOR-00155718 - JLI-HOR-00155723,
                   542:19       was marked for identification.)
543:14 - 543:16    Harter, Bruce 2021-02-19_WIT                                  00:00:09   HB_v12.50
  HARTER364.4.     543:14       In Exhibit 364, if you would go
      1
                   543:15       to the fourth page. It has a number in the
                   543:16       lower right corner that ends in 5721.
543:17 - 543:17    Harter, Bruce 2021-02-19_WIT                                  00:00:02   HB_v12.51
                   543:17 A. I can see that.
543:18 - 544:20    Harter, Bruce 2021-02-19_WIT                                  00:01:17   HB_v12.52
                   543:18 Q. at the
                   543:19       bottom of that page, lower half, I guess,
  HARTER364.4.     543:20       there's an e-mail from Julie Henderson dated
      2
                   543:21       June 5th, 2018. It's to Wendell Greer and
                   543:22       you, and it looks like maybe some others that
                   543:23       have been redacted, and the subject is:
                   543:24       Materials for tomorrow's discussion.
                   543:25       Do you see where I'm at?
                   544:01 A. I do.
  HARTER364.4.     544:02 Q. Okay. And she says: Good
      3
                   544:03       morning. A few quick articles and internal
                   544:04       docs attached to help inform our discussion
                   544:05       tomorrow. Please forgive the lengthy e-mail.
                                            PLF AFFIRMATIVE   DEF COUNTER                           16 / 20
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DESIGNATION        SOURCE                                                       DURATION       ID
                   544:06       We've got a lot to cover in 90 minutes.
                   544:07       Thank you.
                   544:08       And then directing your
  HARTER364.4.     544:09       attention under the boldface heading, which
      4
                   544:10       is entitled: Background articles for current
                   544:11       internal discussions re: education and youth
                   544:12       prevention, she states: Please read abstract
                   544:13       for the first article if you don't have time
                   544:14       to read the whole thing, and note how the
                   544:15       second article is eerily similar to our chart
                   544:16       of youth prevention programs versus those
                   544:17       from big tobacco.
                   544:18       Do you see where I'm reading
                   544:19       from there?
                   544:20 A. I do.
545:01 - 545:09    Harter, Bruce 2021-02-19_WIT                                  00:00:25   HB_v12.53
                   545:01 Q. Okay. Do you have any memory
                   545:02       of Ms. Henderson sharing the thought that
                   545:03       there were some eerie similarities between
                   545:04       JUUL youth prevention programs and those of
                   545:05       big tobacco?
                   545:06 A. I don't have any memory of this
                   545:07       particular e-mail or the topics that are in
                   545:08       here or the meeting that happened the day
                   545:09       following.
573:25 - 574:04    Harter, Bruce 2021-02-19_WIT                                  00:00:08   HB_v12.54
      Clear        573:25       I
                   574:01       think those are all the questions I
                   574:02       have at the moment. I'm going to pass
                   574:03       the witness to Mr. Kiesel for some
                   574:04       questions.
574:05 - 574:06    Harter, Bruce 2021-02-19_WIT                                  00:00:02   HB_v12.55
                   574:05       MR. KIESEL: Thank you very
                   574:06       much.
608:14 - 608:19    Harter, Bruce 2021-02-19_WIT                                  00:00:04   HB_v12.56
      Clear        608:14       Let me pull up another exhibit,
  HARTER373.1.     608:15       this is going to be L17.
      1

                                              PLF AFFIRMATIVE   DEF COUNTER                         17 / 20
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DESIGNATION       SOURCE                                                       DURATION       ID
                  608:16       (Whereupon, Deposition Exhibit
                  608:17       Harter-373, E-mail(s) re: E-cigarette
                  608:18       Epidemic, JLI0385454, was marked for
                  608:19       identification.)
609:09 - 610:03   Harter, Bruce 2021-02-19_WIT                                  00:00:54   HB_v12.57
  HARTER373.1.    609:09       Is Captain Young someone that
      2
                  609:10       you were familiar with?
                  609:11 A. No.
                  609:12 Q. And do you know how you got
                  609:13       Captain Young's message -- sorry, e-mail?
                  609:14 A. So Dr. Greer and I were
                  609:15       exhibitors at the California police chiefs
                  609:16       annual conference, and one of the things the
                  609:17       exhibitors got as a result of being
                  609:18       exhibitors was the list of those who were
                  609:19       attending.
                  609:20       And so I think I sent this out
                  609:21       to those who were attending who had provided
                  609:22       their e-mail address -- I don't believe all
                  609:23       of them did -- and invited them to come talk
                  609:24       with us at the booth that Dr. Greer and I
                  609:25       staﬀed that day.
                  610:01 Q. And I take it, was that a
                  610:02       JUUL-sponsored booth?
                  610:03 A. Yes.
614:10 - 614:15   Harter, Bruce 2021-02-19_WIT                                  00:00:13   HB_v12.58
                  614:10 Q. The message here to Captain
                  614:11       Young -- Captain Young actually is an
                  614:12       oﬀicer, right?
                  614:13 A. Captain Young was a police
                  614:14       oﬀicer who was attending this conference,
                  614:15       yes.
614:24 - 615:22   Harter, Bruce 2021-02-19_WIT                                  00:01:22   HB_v12.59
  HARTER373.1.    614:24 Q. And your reference here is
      3
                  614:25       there's an abuse in our schools and
                  615:01       communities that's spreading like "wildfire."
                  615:02       Was that your word or a word
                  615:03       that you heard used at JUUL?
                                            PLF AFFIRMATIVE     DEF COUNTER                        18 / 20
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DESIGNATION       SOURCE                                                       DURATION       ID
                  615:04 A. I actually -- I actually don't
                  615:05       remember. My goal here was just to raise
                  615:06       people's level of concern so they might want
                  615:07       to talk to us, so it might have been
                  615:08       hyperbolizing as far as I know.
  HARTER373.1.    615:09 Q. And again, you make reference
      4
                  615:10       here to over the last 18 months, the problem
                  615:11       has grown to epidemic proportions in school
                  615:12       lavatories, hallways, even classrooms, as
                  615:13       well as at community centers and other places
                  615:14       where young people congregate.
                  615:15       Is that information that was
                  615:16       provided to you that you used in this e-mail?
                  615:17 A. That was information that I had
                  615:18       gleaned from talking with -- you know,
                  615:19       primarily with school administrators, but
                  615:20       also from my conversations around Richmond,
                  615:21       California, with, you know, staﬀ at
                  615:22       community centers and so forth.
615:23 - 616:02   Harter, Bruce 2021-02-19_WIT                                  00:00:08   HB_v12.60
                  615:23 Q. And did Captain Young ever get
                  615:24       in touch with you to see if he could be of
                  615:25       any further assistance?
                  616:01 A. I don't recall meeting Captain
                  616:02       Young.
631:01 - 631:06   Harter, Bruce 2021-02-19_WIT                                  00:00:09   HB_v12.61
                  631:01       MR. KIESEL: We had a
                  631:02       discussion oﬀ the record. I'm
                  631:03       pleased to say that I have no further
                  631:04       questions of this witness at this
                  631:05       time, so we'll pass the ball over to
                  631:06       the defense.
633:15 - 633:19   Harter, Bruce 2021-02-19_WIT                                  00:00:10   HB_v12.62
                  633:15 Q. And how long did you say you
                  633:16       consulted for JUUL?
                  633:17 A. I consulted from -- really from
                  633:18       December of 2017 until about the end of July
                  633:19       in 2018.


                                           PLF AFFIRMATIVE     DEF COUNTER                         19 / 20
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DESIGNATION       SOURCE                                                      DURATION       ID
770:24 - 771:01   Harter, Bruce 2021-02-19_WIT                                 00:00:03   HB_v12.63
                  770:24       MR. KIEFFER: That's all the
                  770:25       questions that we have. Thank you,
                  771:01       Dr. Harter.



                     PLF AFFIRMATIVE                                         00:27:57
                     DEF COUNTER                                             00:00:10
                     TOTAL RUN TIME                                          00:28:07



                     Documents linked to video:
                     HARTER336
                     HARTER354
                     HARTER355
                     HARTER356
                     HARTER358
                     HARTER364
                     HARTER373




                                             PLF AFFIRMATIVE   DEF COUNTER                        20 / 20
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                     EXHIBIT 2
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 3

 4   [Submitting Counsel on Signature Page]
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 6

 7                                       UNITED STATES DISTRICT COURT
 8                                   NORTHERN DISTRICT OF CALIFORNIA
 9                                             SAN FRANCISCO DIVISION
10

11   IN RE JUUL LABS, INC.,                                      Case No. 19-md-02913-WHO
     MARKETING, SALES PRACTICES,
12   AND PRODUCTS LIABILITY                                      JOINT STIPULATION IDENTIFYING
     LITIGATION                                                  TRIAL EXHIBITS USED IN THE
13                                                               VIDEOTAPED DEPOSITION OF BRUCE
                                                                 HARTER PLAYED AT TRIAL
14
     This Document Relates to:
15
   San Francisco Unified School District v.
16 Juul Labs, Inc. et al., Case No. 3:19-cv-
   08177
17

18
                WHEREAS, Plaintiff called Bruce Harter, whose videotaped deposition was played to the
19
     jury.
20
                WHEREAS, the exhibit numbers in the videotaped deposition are different from the Trial
21
     Exhibit numbers.
22
                WHEREAS, to most efficiently clarify the record, the parties, by and through their
23
     undersigned counsel, hereby stipulate and agree that the chart below accurately reflects the
24
     deposition exhibits introduced during the videotaped testimony of Bruce Harter and the
25
     corresponding Trial Exhibit Numbers1:
26
27   1
         The parties reserve all objections regarding these exhibits.
28                                                                         JOINT STIPULATION IDENTIFYING TRIAL
                                                                           EXHIBITS USED IN VIDEOTAPED
                                                                           DEPOSITION
         Case 3:19-md-02913-WHO Document 3999 Filed 05/03/23 Page 26 of 27



 1
 2
        DEPOSITION EXHIBIT NUMBER                TRIAL EXHIBIT NUMBER
 3
     Harter Exhibit 336                   Trial Exhibit 5020
 4
     Harter Exhibit 354                   Trial Exhibit 1754
 5
     Harter Exhibit 355                   Trial Exhibit 1753
 6
     Harter Exhibit 356                   Trial Exhibit 5023
 7

 8   Harter Exhibit 358                   Trial Exhibit 1749

 9   Harter Exhibit 364                   Trial Exhibit 1755

10   Harter Exhibit 373                   Trial Exhibit 1743

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28                                                  JOINT STIPULATION IDENTIFYING TRIAL
                                                    EXHIBITS USED IN VIDEOTAPED
                                                    DEPOSITION
         Case 3:19-md-02913-WHO Document 3999 Filed 05/03/23 Page 27 of 27



 1                                             Respectfully submitted,
 2

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28                                                             JOINT STIPULATION IDENTIFYING TRIAL
                                                               EXHIBITS USED IN VIDEOTAPED
                                                               DEPOSITION
